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  14                                         True Wearables, Inc. and
                                             Marcelo Lamego
  15
                       IN THE UNITED STATES DISTRICT COURT
  16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
  17
                                             )   Case No. 8:18-CV-02001-JVS-JDE
  18   MASIMO CORPORATION, a                 )
       Delaware corporation; and             )   JOINT STIPULATION
  19   CERCACOR LABORATORIES, INC.,          )   ACCOMPANYING TRUE
       a Delaware corporation,               )   WEARABLES, INC.’S AND
  20               Plaintiffs,               )   MARCELO LAMEGO’S
                                             )   MOTION TO OVERRULE
  21         v.                              )   PLAINTIFFS’ OBJECTION TO
                                             )   DISCLOSURE OF
  22   TRUE WEARABLES, INC., a               )   INFORMATION TO DR. INAN
       Delaware corporation; and             )
  23   MARCELO LAMEGO, an individual,        )   [Discovery Document: Referred to
                                             )   Magistrate Judge John D. Early]
  24               Defendants.               )
                                             )   Hearing: April 15, 2021
  25                                         )
                                             )
                                                 Time: 10:00am
  26                                         )   Ctrim: 6A, Sixth Floor
                                             )
  27                                         )   Discovery Cutoff: May 21, 2021
                                                 Pre-Trial Conf.: Dec. 13, 2021
  28                                             Trial: Jan 11, 2022
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   1         Pursuant to Federal Rule of Civil Procedure 26 and Local Rule 37-2,
   2   Defendants     True    Wearables,     Inc.     and   Marcelo   Lamego      (collectively
   3   “Defendants”), as movants, and Plaintiffs Masimo Corporation (“Masimo”) and
   4   Cercacor     Laboratories,   Inc.   (“Cercacor”)     (collectively,   “Plaintiffs”),   as
   5   respondents, respectfully submit the following Joint Stipulation regarding
   6   Defendants’ Motion for an order overruling Plaintiffs’ objections to Defendants’
   7   expert, Dr. Omer Inan.
   8   I. INTRODUCTORY STATEMENTS
   9   A.    Defendants’ Introductory Statement
  10         Dr. Omer Inan is an academic researcher who runs a research laboratory at
  11   Georgia Tech. His research relates to physiological monitoring, but is not focused
  12   on pulse oximetry or on the noninvasive estimation of any other blood constituent.
  13   He has agreed to be bound by the Protective Order in this case, which prohibits
  14   him from using or disclosing any party’s information for any purpose other than
  15   for his service as an expert in this action.
  16         For over a month, Plaintiffs have objected to Dr. Inan’s accessing any of
  17   Plaintiffs’ confidential information, but the basis for the objection has shifted
  18   along the way. The objection was initially based on Plaintiffs’ purported concerns
  19   about Dr. Inan’s role as a consultant to certain companies. But when Defendants
  20   clarified that Dr. Inan no longer works for three of those companies and that his
  21   work for the remaining company is limited to spending approximately one hour
  22   per week on investor relations, Plaintiffs still did not withdraw their objection.
  23   Instead, they shifted their focus from Dr. Inan’s limited consulting work to his
  24   work as an academic researcher and as an academic advisor to graduate students.
  25   Plaintiffs spent weeks combing through the publications of the students in Dr.
  26   Inan’s research lab, picking and choosing isolated sentences from lengthy
  27   publications and asserting that these publications were a “cause of concern” for
  28   Plaintiffs without ever identifying specific and concrete harm that Plaintiffs would
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   1   likely suffer by disclosure of materials to Dr. Inan.
   2         Defendants have pointed out that none of the identified publications focus
   3   on the technology at issue in this case, have explained that Dr. Inan’s work as an
   4   academic advisor poses no risk of competitive harm to Plaintiffs, and have noted
   5   that to the extent there is any risk of competitive harm, that risk would be
   6   mitigated by Dr. Inan’s commitment to be bound by the Protective Order.
   7   Defendants have asked Plaintiffs to specifically define the technology they believe
   8   to be at issue in the case, to identify a single case in which an academic advisor
   9   was found to pose a risk of competitive harm, and to explain why the existing
  10   provisions of the Protective Order are insufficient to address their purported
  11   concerns. Plaintiffs have done none of these things, yet they still maintain their
  12   objection.
  13         In an effort to resolve Plaintiffs’ objections, Defendants have offered to
  14   consider reasonable proposals of additional restrictions that might alleviate
  15   Plaintiffs’ alleged concerns. After refusing to provide a specific proposal for at
  16   least ten days, Plaintiffs finally offered a proposal. But the proposed restrictions
  17   were not reasonable. The scope and duration of the proposed restrictions were not
  18   remotely proportional to any realistic assessment of the risk posed by Dr. Inan’s
  19   work and amounted to a noncompetition agreement that would be more restrictive
  20   than California law would allow even if Dr. Inan were an employee of Plaintiffs.
  21   In effect, the proposed restrictions were designed to give him a choice between
  22   being an expert in this case and continuing to work as an academic researcher at
  23   Georgia Tech. Dr. Inan cannot agree to such unreasonable restrictions.
  24         Because the parties have agreed to a protective order, Plaintiffs bear the
  25   burden of showing why the current provisions of the Protective Order are
  26   insufficient to protect Plaintiffs and why the risk of disclosure of its confidential
  27   information outweighs the risk of harm to Defendants’ ability to prosecute its
  28   case. But Plaintiffs cannot satisfy their burden because Plaintiffs (i) overstate the
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   1   breadth of the case and the information to which Dr. Inan is likely to be exposed
   2   in this case, (ii) overstate the risk that Dr. Inan’s academic research would result in
   3   inadvertent disclosure, (iii) understate the extent to which the existing Protective
   4   Order eliminates the risks of any disclosure, and (iv) fail to consider the harm to
   5   Defendants if Dr. Inan is not permitted access and the fact that their position
   6   would essentially preclude Defendants from retaining any qualified expert.
   7   Moreover, Plaintiffs’ objection is plainly at odds with positions Plaintiffs took
   8   earlier in the case.
   9          As the close of discovery approaches, Defendants are in need of an expert
  10   with Dr. Inan’s expertise. For the reasons explained below, allowing Dr. Inan to
  11   access Plaintiffs’ information poses no risk of competitive harm to Plaintiffs.
  12   Plaintiffs’ objection is inconsistent with prior positions that Plaintiffs have taken
  13   in this case and is based on a vague assertion of risk that is disconnected from
  14   reality. The Court should overrule Plaintiffs’ objection and allow the parties to
  15   proceed with the case.
  16   B.     Plaintiffs’ Introductory Statement
  17          Dr. Inan researches and develops physiological monitoring technologies
  18   based on the photoplethysmogram (“PPG”) signal. Many of his articles and
  19   patents describe how to process the PPG to remove noise.
  20

  21                                      Dr. Inan also co-founded and advises a start-up
  22   company that is developing, for commercial sale, a wearable that processes a PPG
  23   to determine oxygen saturation. In view of his current activities, Dr. Inan could
  24   not avoid being influenced by what he learns about processing the PPG from
  25   Plaintiffs’ highly confidential information.
  26          Plaintiffs explained their concerns to Defendants. Rather than address those
  27   concerns, Defendants argue that the case does not involve PPG processing, but
  28   only pulse oximetry.       But this ignores that pulse oximetry rests on PPG
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   1   processing. Defendants cannot maintain that PPG processing and pulse oximetry
   2   are separate fields.
   3         Defendants also ignore that Dr. Inan would be their fourth retained
   4   technical expert. Defendants’ complaint that disqualifying Inan would preclude
   5   them from retaining any qualified expert rings hollow.
   6         Therefore, Plaintiffs request the Court sustain their objection to Dr. Inan.
   7   II. RELEVANT PROTECTIVE ORDER PROVISIONS
   8         The Protective Order provides a process by which a party may notify
   9   another party of its intent to retain an outside consultant or expert for the purpose
  10   of this litigation. The Protective Order states that experts may be given access to a
  11   party’s confidential materials, provided that
  12                . . . before access is given, the consultant or expert has
  13                completed the Undertaking attached as Exhibit A
  14                (“Agreement to be Bound by Protective Order”) hereto
  15                and the same is served upon the producing Party with (i)
  16                a current curriculum vitae of the consultant or expert, (ii)
  17                a listing of each person or entity from whom the expert
  18                has received compensation or funding for work in his or
  19                her areas of expertise or to whom the expert has
  20                provided professional services, including in connection
  21                with a litigation, at any time during the preceding five
  22                years, and (iii) a listing (by name and number of the
  23                case, filing date, and location of court) of any litigation
  24                in connection with which the Expert has offered expert
  25                testimony, including through a declaration, report, or
  26                testimony at a deposition or trial, during the preceding
  27                five years, at least seven (7) days before access to the
  28                DESIGNATED MATERIAL is to be given to that
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   1                consultant or expert. The producing party may object to
   2                and notify the receiving Party in writing that it objects to
   3                disclosure of DESIGNATED MATERIAL to the
   4                consultant or expert. The Parties agree to promptly
   5                confer and use good faith to resolve any such objection.
   6                If the Parties are unable to resolve any objection, the
   7                objecting Party may file a motion with the Court within
   8                such other time as the Parties may agree, seeking a
   9                protective order with respect to the proposed disclosure.
  10                The objecting Party shall have the burden of proving the
  11                need for a protective order.
  12   (Dkt. 100 at 5-6.)
  13         The Protective Order also contains a “patent prosecution bar,” which
  14   prohibits certain individuals from certain types of participation in patent
  15   prosecution for patent applications in certain fields. Here, the provisions that the
  16   parties agreed to restrict prosecution activities “in the field of pulse oximetry”:
  17                After the adoption of this provision by the parties,
  18                Outside Counsel representing a Party and any person
  19                associated with a Party who receive a producing Party’s
  20                Protected Material designated “CONFIDENTIAL –
  21                ATTORNEYS’ EYES ONLY,” or “RESTRICTED
  22                CONFIDENTIAL           SOURCE          CODE”     under    this
  23                Protective Order who accesses or otherwise learns of, in
  24                whole or in part, said Protected Material designated
  25                “CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or
  26                “RESTRICTED CONFIDENTIAL SOURCE CODE”
  27                under    this   Protective     Order    shall   not   prepare,
  28                prosecute, supervise, advise, counsel, or assist in the
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   1                preparation or prosecution of any patent application
   2                seeking a patent on behalf of the receiving Party or
   3                its acquirer, successor, or predecessor in the field of
   4                pulse oximetry during the pendency of this Action and
   5                for two years after final termination of this action. . . .
   6   (Dkt. 100 at 18-19).
   7   III. DEFENDANTS’ POSITION
   8   A.    History of Dispute
   9         On February 12, 2021, Defendants identified Dr. Omer Inan as an expert.
  10   See Kachmer Decl., ¶ 2, Ex. A at 25. With that identification, Defendants provided
  11   Plaintiffs with (i) a signed Agreement to be Bound by the Protective Order, (ii) Dr.
  12   Inan’s curriculum vitae, (iii) a listing of all companies to whom Dr. Inan has
  13   provided professional services in the past five years. Id., ¶ 3, Ex. B. Plaintiffs
  14   responded that they objected to the disclosure of materials to Dr. Inan until the
  15   parties are able to resolve certain issues. Id. Plaintiffs specifically raised three
  16   issues: (1) Dr. Inan’s consulting relationship with                        (2) Dr. Inan’s
  17   consulting relationship with                    and (3) Dr. Inan’s pending patent
  18   applications. Id. Defendants promptly provided the requested information. Id. at
  19   23-24.
  20         When Defendants expressed a desire to meet and confer regarding the
  21   identified concerns, Plaintiffs indicated that they would not be available to meet
  22   and confer for several days because they were “evaluating proposed restrictions”
  23   for Dr. Inan and would need additional time before being able to “meaningfully
  24   discuss a proposed compromise on Dr. Inan.” Id. at 20-21. To expedite resolution
  25   of Plaintiffs’ objection, Defendants provided additional information about Dr.
  26   Inan’s limited consulting work and requested that Plaintiffs provide (a) a listing of
  27   patent applications that were causing Plaintiffs concern and (b) a specific
  28   identification of the “proposed restrictions” that Plaintiffs believed to be warranted
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   1   and which, if agreed to, would resolve Plaintiffs’ concerns. Id. at 15-21.
   2         One week after Defendants made these requests, Plaintiffs provided, on
   3   March 9, a list of “references to specific publications and patent applications that
   4   cause Plaintiffs concern.” Id. at 16-17. Even though Defendants had provided, on
   5   February 12, 2021, Dr. Inan’s CV, which lists all of Dr. Inan’s academic
   6   publications, Plaintiffs’ March 9 email was the first time that Plaintiffs had
   7   identified any of Dr. Inan’s academic publications as a purported source of
   8   Plaintiffs’ concern. Id.
   9         In the week between March 9 and March 16, Plaintiffs’ focus gradually
  10   shifted from Dr. Inan’s consulting work to the content of Dr. Inan’s academic
  11   publications. Id. at 3-17. Plaintiffs identified several journal articles, making
  12   vague allegations of “concern” about these publications. For some publications,
  13   Plaintiffs’ alleged concern stemmed from the fact that the publications discussed
  14   “technologies that Plaintiffs have developed and could be within the scope of
  15   materials Dr. Inan is exposed to.” Id. at 10-12. For others, Plaintiffs’ alleged
  16   concern stemmed from the fact that Dr. Inan’s work involved processing of
  17   photoplethysmogram (PPG) signals, which Plaintiffs argue are the same signals
  18   used by pulse oximetry devices. Id. at 10-17.
  19         For each of the publications identified by Plaintiffs, Defendants’ response
  20   has been the same. Id. at 4-7, 10, 13. First, the technologies identified in Dr. Inan’s
  21   academic publications are simply not technologies that are currently at issue in
  22   this case or that are likely to be put at issue. Id. Second, it is Plaintiffs’ burden to
  23   establish why the current provisions of the Protective Order are not sufficient to
  24   protect Plaintiffs and to identify the specific harm they will suffer if Dr. Inan
  25   accesses information designated under the Protective Order. Id. They have not
  26   done so. Relatedly, Plaintiffs also bear the burden of proposing reasonable
  27   restrictions that they believe would adequately address their concerns.
  28         Defendants have consistently maintained that Dr. Inan’s Agreement to be
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   1   Bound by the Protective Order is sufficient to protect against any risk of
   2   competitive harm to Plaintiffs that would be posed by Dr. Inan’s accessing their
   3   confidential information. Id. However, to avoid bringing the issue to the Court and
   4   in an effort to compromise, Defendants have also offered to consider any
   5   reasonable proposal from Plaintiffs of additional restrictions that would alleviate
   6   their alleged concerns about Dr. Inan. Plaintiffs provided a proposal on March 16,
   7   2021, over one month after Defendants first disclosed their intention of retaining
   8   Dr. Inan. Id. at 1-2. But the specific proposal of additional restrictions offered by
   9   Plaintiffs was, for lack of a better work, unconscionable.
  10         After spending weeks learning about the details of Dr. Inan’s academic
  11   work, Plaintiffs proposed a group of restrictions seemingly aimed at requiring Dr.
  12   Inan to cease his activities as a research advisor at Georgia Tech for up to 10 years
  13   following the duration of the litigation. Not only was the length of the restrictions
  14   unjustifiable, but the scope of restrictions far exceeded anything that would be
  15   reasonable based on the scope of the confidential information to which Dr. Inan is
  16   likely to be exposed in this case. There is serious reason to doubt that the proposed
  17   restrictions would even be enforceable under California law, which rejects the
  18   theory that an individual will inevitably disclose confidential information and
  19   disallows non-competition agreements that restrict an individual’s ability to
  20   pursue work. Whyte v. Schlage Lock Co., 101 Cal. App. 4th 1443, 1463, 125 Cal.
  21   Rptr. 2d 277 (2002) (“Lest there be any doubt about our holding, our rejection of
  22   the inevitable disclosure doctrine is complete.”); Freeman Expositions, Inc. v.
  23   Glob. Experience Specialists, Inc., No. SACV 17-00364-CJC(JDEx), 2017 U.S.
  24   Dist. LEXIS 62087, at *13 (C.D. Cal. Apr. 24, 2017) (“California[ has a] strong
  25   public policy against noncompete agreements. See Cal. Bus. & Prof. Code
  26   § 16600.”).
  27         Plaintiffs’ objection rests on an overly broad assessment of the information
  28   to which Dr. Inan is likely to be exposed. If Plaintiffs’ objection is not overruled,
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   1   it would essentially preclude Defendants from obtaining any expert with the
   2   background and qualifications necessary to effectively serve as an expert in this
   3   case. Plaintiffs have not and cannot show that the protections provided for in the
   4   Protective Order are insufficient. Accordingly, Defendants now bring this motion
   5   for an order overruling Plaintiffs’ objections.
   6   B.    Plaintiffs Cannot Meet their Burden of Establishing that Dr. Inan
   7         Should not have Access to their Confidential Materials.
   8         Pursuant to the agreed-upon provisions of the Protective order, Plaintiffs
   9   bear the burden of proving the need to preclude Dr. Inan from accessing
  10   confidential materials. (Dkt. 100 at 6(c)). Because Defendants are attempting to
  11   exclude Dr. Inan from access to confidential information, they must establish an
  12   unacceptable risk of or opportunity for the inadvertent disclosure of confidential
  13   information. See ODS Techs., L.P. v. Magna Entm't Corp., 583 F. Supp. 2d 1141,
  14   1144 (C.D. Cal. 2008).1 That risk must lead to specific prejudice or harm to
  15   Plaintiffs. Nutratech, Inc. v. Syntech (SSPF) Int'l, Inc., 242 F.R.D. 552, 554 (C.D.
  16   Cal. 2007) (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1130
  17   (9th Cir. 2003)).
  18         If the parties have agreed to, and the court has entered, a protective order
  19   the party opposing disclosure of their confidential information “bear the burden of
  20   showing why the risk of disclosure of its confidential information outweighs the
  21   risk of harm to [the opposing party’s] ability to prosecute its case.” Isis Pharm.,
  22

  23   1
         Dr. Inan has already signed the Agreement to be Bound, which includes an
  24   agreement that he “will not to disclose to anyone not qualified under the
       Protective Order, and will use only for purposes of this action any information
  25   designated as ‘CONFIDENTIAL,’ ‘CONFIDENTIAL – ATTORNEYS' EYES
  26   ONLY’ or ‘RESTRICTED CONFIDENTIAL SOURCE CODE’ that is disclosed
       to me.” (Dkt. 100 at Agreement to Be Bound.) Accordingly, there is no risk of
  27   purposeful disclosure, and the only potential risk at issue with respect to Plaintiffs’
  28   objection is inadvertent disclosure by Dr. Inan.

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   1   Inc. v. Santaris Pharma A/S Corp., No. 11cv2214-GPC (KSC), 2013 U.S. Dist.
   2   LEXIS 94263, at *9 (S.D. Cal. July 5, 2013). In balancing these risks, the court
   3   “must examine factually all of the risks and safeguards surrounding inadvertent
   4   disclosure.” Id. A “crucial factor” in evaluating the risk of inadvertent disclosure
   5   is whether the person seeking access is involved in “competitive decision-making;
   6   that is, advising on decisions about pricing or design made in light of similar or
   7   corresponding information about a competitor.” Brown Bag Software v. Symantec
   8   Corp., 960 F.2d 1465, 1470 (9th Cir. 1992).
   9         Plaintiffs have not met and cannot meet this burden.
  10         1.     Plaintiffs’ Objection Contradicts their Prior Arguments about
  11                their own Expert, Dr. McNames
  12         The meritless nature of Plaintiffs’ objection is borne out by their own
  13   actions and statements. In February, Defendants objected to the disclosure of their
  14   confidential information to Plaintiffs’ identified expert, Dr. James McNames.
  15   (Dkt. 69-1). Defendants expressed concerns about Dr. McNames based on his
  16   work as “Chief Algorithm Architect” for ADPM, a company that sells signal-
  17   processing algorithms to customers. (Id. at 10-11). Defendants specifically
  18   identified a patent owned by ADPM naming Dr. McNames as an inventor that
  19   disclosed an algorithm for performing cardiovascular signal analysis, modeling,
  20   and monitoring, and repeatedly stated that the invention could be used in pulse
  21   oximetry. (Id.) Defendants argued that Plaintiffs “should find another expert who
  22   does not commercialize and profit from algorithms, such as an academic or other
  23   expert consultant.” (Id. at 12).
  24         Plaintiffs responded: “Dr. McNames’ work with APDM is not related to
  25   the technology at issue in this lawsuit. . . . they do not develop pulse oximetry
  26   devices.” (Id. at 8-10). Plaintiffs also pointed out that Dr. McNames had signed an
  27   Agreement to Be Bound by the Protective Order, arguing that Agreement
  28   “requires him to maintain the confidentiality of any designated materials he
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   1   accesses in the case, and severely limits his ability to copy or print Defendants’
   2   highly confidential source code. (Id.)
   3         Plaintiffs’ arguments apply with equal force to Dr. Inan, who does not
   4   develop pulse oximetry devices and who has already agreed to be bound by the
   5   protective order. Declaration of Omer Inan (“Inan Decl.”), ¶ 21. On this basis
   6   alone, the Court should overrule Plaintiffs’ objection.
   7         2.     Plaintiffs have Failed to Show an Unacceptably High Risk of
   8                Inadvertent Disclosure
   9         Even ignoring that Plaintiffs’ plainly inconsistent positions, Plaintiffs’
  10   objection should be overruled because Plaintiffs cannot meet their burden of
  11   establishing that a protective order is necessary. Dr. Inan has already agreed to be
  12   bound by the provisions of the Protective Order, which expressly prohibit use or
  13   disclosure of Plaintiffs’ confidential information. Id. Therefore, Dr. Inan’s access
  14   to Plaintiffs’ information should only be restricted if his work poses an
  15   unacceptably high risk of inadvertent disclosure.
  16         While Plaintiffs have raised “concerns” regarding Dr. Inan, Plaintiffs have
  17   never specifically identified or described why there is an unacceptably high risk of
  18   inadvertent disclosure. But, to the extent Plaintiffs claim that such a risk exists,
  19   Plaintiffs cannot satisfy their burden to show that the risk of disclosure outweighs
  20   the risk of harm to Defendants’ ability to prosecute its case. There are four
  21   primary sources of error in Plaintiffs’ assessment and balancing of these risks.
  22   First, Plaintiffs overstate the breadth of information to which Dr. Inan is likely to
  23   be exposed in this case. Second, Plaintiffs overstate the risk that Dr. Inan’s
  24   academic research would result in inadvertent disclosure. Third, Plaintiffs
  25   understate the extent to which the existing Protective Order eliminates the risks of
  26   any disclosure. Finally, Plaintiffs have failed to consider the harm to Defendants if
  27   Dr. Inan is not permitted access and the fact that their position would essentially
  28   preclude Defendants from retaining any qualified expert.
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   1                a.     This Case is Fundamentally about Pulse Oximetry
   2                       Technology, which Dr. Inan does not Develop
   3         As Plaintiffs’ recognized in their argument regarding Dr. McNames, this
   4   case is fundamentally about pulse oximetry devices and pulse oximetry
   5   technology. (Dkt. 69-1 at 8-10). The briefing regarding Dr. McNames is not the
   6   only time that Plaintiffs have acknowledged that this is the technological focus of
   7   the case. Earlier in the case, the parties negotiated the inclusion of a patent
   8   prosecution bar in the Protective Order. That prosecution bar prohibits certain
   9   individuals from engaging in certain patent prosecution activities if they have
  10   accessed a party’s confidential information during this litigation. (Dkt. 100).
  11   However, when the parties negotiated these provisions, they agreed that the scope
  12   of the prosecution bar should only apply to prosecution activities “in the field of
  13   pulse oximetry.” (Id.). The fact that Plaintiffs were comfortable with a patent
  14   prosecution bar that only applies to technologies “in the field of pulse oximetry”
  15   strongly supports that Plaintiffs have understood, since the beginning of this case,
  16   that the case is fundamentally about pulse oximetry technology.
  17         Now that Plaintiffs’ own technical expert has been approved, though,
  18   Plaintiffs conveniently state that the technology at issue in the case is broader than
  19   pulse oximetry. When the parties met and conferred regarding Plaintiffs’
  20   objection, Defendants’ counsel noted this apparent change in Plaintiffs’ view of
  21   the case. Plaintiffs’ counsel responded that the issues in the case had changed
  22   since the parties’ briefing regarding Dr. McNames but could not and did not
  23   specify precisely how or why. Plaintiffs’ counsel stated that the scope of
  24   confidential information was now “broader” than only pulse oximetry but, again,
  25   could not and did not articulate a specific definition of what Plaintiffs believe the
  26   scope to be. In an effort to compromise, Defendants offered a broader definition of
  27   the scope of the case that would include not only pulse oximetry but also
  28   noninvasive monitoring of other blood constituents. However, Plaintiffs disagreed
                                               -12-
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   1   that even this broader definition would suitably define the scope of confidential
   2   information to which Plaintiffs believed that Dr. Inan would likely be exposed as
   3   an expert witness.
   4         Plaintiffs still have not articulated a clear definition of what they now
   5   believe to be the relevant scope of technologies at issue. Instead, Plaintiffs have
   6   merely resorted to identifying items on Dr. Inan’s CV that “cause Plaintiffs
   7   concern.” Kachmer Decl., Ex. A at 16. Looking at these publications and the
   8   reasons for Plaintiffs’ purported concern, it seems that Plaintiffs now believe the
   9   scope of relevant confidential information to be much broader than pulse oximetry
  10   or even noninvasive monitoring of other blood constituents. For instance,
  11   Plaintiffs identified publications relating to respiration rate, ECG, pulse transit
  12   time, and pulse arrival time as “technologies that Plaintiffs have developed and
  13   could be within the scope of materials Dr. Inan is exposed to.” Id. at 11-12.
  14   Plaintiffs also identified publications relating to “hemodynamic parameters” and
  15   expressed concern because Masimo “has a business unit that sells products that
  16   calculate hemodynamic parameters.” Id. Based on these statements, it seems that
  17   Plaintiffs believe that the scope of confidential information to which Dr. Inan
  18   would be exposed is not limited to pulse oximetry or even to noninvasive
  19   monitoring of blood constituents, but rather includes any technology that Plaintiffs
  20   “have developed” or for which Masimo “has a business unit.”
  21         This vastly overstates the scope of the case and the confidential information
  22   at issue in this case and, as a result, overstates the risks of Dr. Inan’s accessing
  23   that confidential information. Plaintiffs are attempting to broaden the inquiry to
  24   look not only at the technologies actually at issue in this case but also any
  25   technologies that are remotely related to pulse oximetry or that fall under
  26   Plaintiffs’ large corporate umbrella, which expands far beyond the technology of
  27   this case. For instance, Plaintiffs requested that Defendants ask Dr. Inan whether
  28   he does any work involving signal processing of light signals. Similarly, Plaintiffs
                                              -13-
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   1   have expressed “concerns” about Dr. Inan’s work involving analysis of a
   2   photoplethysmogram (PPG) signal. While it is true that pulse oximetry involves
   3   signal processing of light signals and involves processing a PPG signal, these
   4   categories encompass far more than pulse oximetry or monitoring of blood
   5   constituents. To allow Plaintiffs to expand the inquiry in this manner would
   6   effectively preclude Defendants from retaining a qualified expert. If parties in
   7   patent and trade secret litigation were not permitted to retain experts who work in
   8   any field related to the technology at issue in the case, essentially all qualified
   9   experts would be eliminated because the only remaining experts would not have
  10   the necessary technical expertise.
  11         Moreover, the Protective Order unequivocally places the burden on
  12   Plaintiffs to establish the need to restrict Dr. Inan’s access. To the extent Plaintiffs
  13   believe that the scope of confidential information expands beyond what they have
  14   already stated before this Court, Plaintiffs must substantiate this claim and must
  15   offer a clear definition of what they believe to be the appropriate definition.
  16   Plaintiffs have done neither.
  17         The Court should reject Plaintiffs’ attempt to expand the inquiry to include
  18   any technology that Plaintiffs have ever developed or sold and, instead,
  19   acknowledge, as Plaintiffs’ themselves did in discussing their expert Dr.
  20   McNames (when it suited Plaintiffs’ needs), that the scope of confidential
  21   information includes pulse oximetry or, at most, noninvasive monitoring of blood
  22   constituents. Adopting this more realistic view of the scope of confidential
  23   information, it becomes clear that Plaintiffs purported concerns are overstated and
  24   do not support precluding access by Dr. Inan. Dr. Inan’s work involves processing
  25   measured signals (e.g., cardiogenic vibration signals, kinematics measurements,
  26   sound signals, vagus nerve stimulation, etc.) to determine useful clinical
  27   indications. Inan Decl., ¶ 4. This knowledge is precisely what makes him qualified
  28   to serve as an expert in this case. But while Dr. Inan’s work makes him a qualified
                                                -14-
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   1   expert, his work does not create a risk of inadvertent disclosure because it does not
   2   focus on the specific technology to which he is likely to be exposed in this case in
   3   this case (i.e., technology for noninvasively estimating SpO2 or other blood
   4   constituents). Id., ¶ 10, 12-14. Because Plaintiffs’ objection rests on an overstated
   5   view of the scope of the case and the confidential information at issue in this case,
   6   the Court should overrule Plaintiffs’ objections.
   7                b.     Dr. Inan’s Work is Academic, Not Commercial
   8         Plaintiffs not only overstate the scope of the case and the confidential
   9   information to which Dr. Inan is likely to be exposed, but they also overstate the
  10   opportunities and motivation for Dr. Inan to inadvertently disclose their
  11   information. Even if the Court were to accept Plaintiffs’ exceptionally broad
  12   definition of the scope of confidential information to which Dr. Inan will be
  13   exposed, the Court should still overrule Plaintiffs objection because Dr. Inan’s
  14   work poses very little risk of inadvertent disclosure.
  15         Dr. Inan is primarily an academic. He has engaged in minimal consulting
  16   work outside of academia, but this work has been limited both in terms of the time
  17   that he commits to it and the scope of his responsibilities. See Inan Decl., ¶ 11.
  18   (identifying his most extensive consulting role as involving one hour of work per
  19   week seeking out and meeting with potential investors and not involving
  20   technology development, which is left to the company’s full-time team of
  21   engineers).2 Thus, the vast majority of Dr. Inan’s time and attention is dedicated to
  22   the work he does as an Associate Professor at Georgia Tech University. Id., ¶ 4-7.
  23         More specifically, Dr. Inan spends the vast majority of his time working at
  24   the Inan Research Lab, where he is the Principal Investigator. Id. The Inan
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  26     After Defendants provided additional detail about the limited nature of Dr.
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       Inan’s consulting, Plaintiffs shifted their focus to his academic publications,
       implicitly acknowledging that Dr. Inan’s limited consulting does not pose a risk of
  28   competitive harm.
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   1   Research Lab does not develop or sell any products. Id., ¶ 6. The Inan Research
   2   Lab is not a for-profit enterprise. Id. Rather, the Inan Research Lab receives its
   3   funding primarily from grants, which allow the Lab to conduct cutting-edge
   4   research and to present the findings of that research in academic journals and at
   5   academic conferences. Id.
   6         As the Principal Investigator, Dr. Inan’s role is supervisory and managerial.
   7   Although Dr. Inan oversees the research conducted by the students in the Lab, he
   8   spends most of his time making giving students the resources they need to conduct
   9   research. Id., ¶ 6. This includes seeking and obtaining funding to support the
  10   research, hiring students and team members, and setting a vision for the lab in
  11   terms of strategy for the research. Id. It also involves, for the individual students,
  12   ensuring that they understand the state of the art and literature, evaluating the
  13   methodologies they intend to employ in their research, assisting in the preparation
  14   of scientific manuscripts and presentations for dissemination, and providing
  15   mentoring and guidance to students throughout their graduate studies. Id. It is the
  16   students and the trainees in the lab—not Dr. Inan—who are responsible for
  17   algorithm development, device design and fabrication, hardware verification and
  18   testing, human subjects research and data collection, data analysis and statistical
  19   analysis, and other day-to-day technical activities. Id.
  20         This type of high-level advisory role in an academic setting is not the type
  21   of role that creates a risk of inadvertent disclosure. See, e.g., Labyrinth Optical
  22   Techs. LLC v. Ciena Communs., Inc., No. SACV12-02217-AG (DFMx), 2013
  23   U.S. Dist. LEXIS 188655, at *30-31 (C.D. Cal. Dec. 18, 2013) (entering
  24   protective order specifically stating that restrictions on expert witness “shall not
  25   preclude such Expert(s) from any academic work”); Apple Inc. v. Samsung Elecs.
  26   Co., Civil Action No. 11-CV-01846-LHK, 2012 U.S. Dist. LEXIS 49201, at *33-
  27   34 (N.D. Cal. Jan. 30, 2012) (same). The risk posed by high-level academic work
  28   is particularly low where, as here, the type of confidential information likely to be
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   1   at issue is technical information like the source code or technical specifications of
   2   Plaintiffs’ pulse oximetry products. Because Dr. Inan is not responsible for the
   3   technical aspects (e.g., algorithm development, device design, etc.) of the research
   4   in the Inan Research Lab, there is minimal opportunity for Dr. Inan to
   5   inadvertently disclose Plaintiffs’ technical information. If Plaintiffs were claiming
   6   trade secret information in “techniques for obtaining funding for academic
   7   research,” it would be a different question. But that is not the case here.
   8         Even if Dr. Inan were more involved in the technical aspects of the Lab’s
   9   research, Plaintiffs’ risk assessment would still be overstated because they ignore
  10   that the purpose of the Inan Research Lab is not technology development and
  11   commercialization. Inan Decl., ¶ 4-7, 12-14. The Inan Research Lab does not
  12   develop and sell products that would compete with Plaintiffs’ products. Id. Rather,
  13   the focus of the Research Lab is conducting research and publishing the results of
  14   that research. Id. Plaintiffs have identified a number of research papers published
  15   by the Inan Research Lab as allegedly causing Plaintiffs “concern” about Dr.
  16   Inan’s serving as an expert. But Plaintiffs have not articulated why Dr. Inan’s
  17   work supervising academic research and publication would be a cause of concern.
  18   Or, put differently, Plaintiffs have not explained how or why an academic research
  19   publication creates a risk of inadvertent disclosure their confidential information.
  20         The purpose of academic publications and presentations is the presentation
  21   new or interesting research results. This presentation of research results often
  22   includes discussion of the methodologies of the study and explanations of how and
  23   why certain measurements were taken for data collection. But to the extent these
  24   papers/publications ever discuss specific technology, the discussion presents the
  25   technology at a high level. For instance, Plaintiffs have identified the following
  26   excerpts from publications as an alleged source of concern:
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  16   Kachmer Decl., Ex. A at 8-9. These publications do not discuss pulse oximetry or
  17   noninvasive monitoring of blood constituents and, therefore, do not relate to any
  18   technology that is at issue in this case. Inan Decl., ¶ 12-14. However, even if these
  19   (or other) academic papers did describe technology relevant to the case, the
  20   discussion is limited to high-level block diagrams that merely identify, for
  21   example, “PPG reduction” and “feature extraction” as techniques used in the
  22   research. There is no explanation of any specific techniques that were used as part
  23   of “PPG redaction” or “feature extraction.” This lack of technical detail is
  24   perfectly consistent with the purpose of academic research: the author’s goal is not
  25   to explain the hardware and software of each and every technology used to collect
  26   data but, rather, to present the results of the research.
  27         Defendants expressly asked Plaintiffs if they were aware of any cases in
  28   which a Court found that there was a risk of inadvertent disclosure by an

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   1   individual whose primary role was as an academic researcher. Plaintiffs failed to
   2   identify any such cases. This is not surprising because cases addressing the risk of
   3   inadvertent disclosure by experts often focus on experts who are involved in
   4   technology development and/or the commercialization thereof for direct
   5   competitors of the disclosing party. Indeed, there is an entire line of cases
   6   providing factors to determine whether an expert should be given access to one
   7   party’s confidential information when that expert is a current or former employee
   8   or consultant for the opposing party in the case. See, e.g., Pac. Marine Propellers,
   9   Inc. v. Wartsila Def., Inc., No. 17cv555 BEN (NLS), 2018 U.S. Dist. LEXIS
  10   75268, at *10 (S.D. Cal. May 3, 2018) (collecting cases). That stands in stark
  11   contrast to the situation here.
  12         Here, Plaintiffs cannot allege a risk of competitive harm based on product
  13   development or commercialization because Dr. Inan is an academic research. So,
  14   Plaintiffs are left to object based on his work as an advisor to Ph.D. students and
  15   as the manager of an academic research laboratory. But Dr. Inan’s academic work
  16   poses no risk of inadvertent disclosure, at least because his students are
  17   responsible for the technical aspects of their research and because the purpose of
  18   the research conducted by the Inan Research Lab is to present interesting research
  19   findings and not to develop and commercialize new technologies. Inan Decl., ¶ 4-
  20   7, 12-14. Indeed, because Dr. Inan’s work is so heavily focused on non-
  21   commercial research, it is difficult to imagine a qualified expert with less of an
  22   opportunity or motive to cause Plaintiffs competitive harm via inadvertent
  23   disclosure. Because Plaintiffs’ objection rests on an overstated view of the
  24   opportunity for disclosure in Dr. Inan’s academic work, the Court should overrule
  25   Plaintiffs’ objection.
  26         3.     The Protective Order Provides Adequate Protection
  27        The risk that Dr. Inan will inadvertently disclose Plaintiffs’ information is
  28   low because he does not work in the technologies at issue in this case and because
                                              -19-
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   1   his work provides minimal opportunity for inadvertent disclosure. To the extent
   2   Dr. Inan’s work creates any risk of competitive harm to Plaintiffs, that risk is
   3   adequately addressed by Dr. Inan’s agreeing to be bound by the protective order.
   4   Id., ¶ 21. By agreeing to be bound, Dr. Inan is agreeing that he will not use or
   5   disclose the information to which he is exposed in this case for any purpose other
   6   than serving as Defendants’ expert. This is more than sufficient. See Presidio
   7   Components, Inc. v. Am. Tech. Ceramics Corp., No. 08cv335 IEG (NLS), 2008
   8   U.S. Dist. LEXIS 93873, at *10 (S.D. Cal. Nov. 18, 2008) (“ATC’s need to
   9   reasonably protect its confidential information is already addressed by both
  10   experts executing agreements to be bound by the Protective Order.”); Santella v.
  11   Grizzly Indus., No. 3:12-mc-00131-SI, 2012 U.S. Dist. LEXIS 158349, at *13 (D.
  12   Or. Nov. 5, 2012) (“SawStop has failed to offer any persuasive evidence that Mr.
  13   Domeny will violate the protective order by intentionally disclosing its
  14   confidential information” and, further, rejecting arguments that an expert posed a
  15   risk of inadvertent disclosure, in part because the theories of possible disclosures
  16   would all require a “violation of the express provisions of the terms of the Court’s
  17   protective order”).
  18        Plaintiffs fail to consider the protection provided by the Protective Order
  19   when they formulate the bases for their objections. They profess to be
  20   “concerned” about the fact that Dr. Inan supervises research in certain areas. But
  21   their concerns appear to assume that Dr. Inan will blindly ignore the restrictions of
  22   the Protective Order. For instance, Plaintiffs have asserted that Dr. Inan “could
  23   include information he learned from Plaintiffs either in patent applications, or in
  24   publications that would include his students as authors” and that they “cannot
  25   allow Dr. Inan to access their information and later use it to compete against
  26   them” Kachmer Decl., Ex. A at 6, 9. But for Dr. Inan to do either of these things
  27   would clearly be inconsistent with Dr. Inan’s commitment that he will only use
  28   Plaintiffs’ confidential information in connection with this litigation. Inan Decl., ¶
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   1   21. Moreover, none of the patent applications that Plaintiffs have identified relate
   2   to the technology at issue in this case. Inan Decl. ¶ 15-20. Accordingly, it seems
   3   that Plaintiffs are severely discounting the extent to which Plaintiffs’ concerns are
   4   already addressed by Dr. Inan’s agreement to be bound by the protective order.
   5   Because Plaintiffs’ objection rests on an understatement of the extent to which the
   6   Protective Order addresses their concerns, the Court should overrule Plaintiffs’
   7   objection.
   8         4.     Defendants Cannot Proceed without a Qualified Expert
   9        This Court has seen Plaintiffs’ identification of trade secrets in connection
  10   with previously filed motions. Thus, the Court is aware that Plaintiffs’ alleged
  11   trade secrets are highly technical. It is imperative that Defendants be able to seek
  12   the expertise of Dr. Inan, whose experience with signal processing in the context
  13   of blood pressure, ECG, etc. gives him insight into the technology behind
  14   Plaintiffs’ other alleged trade secrets.
  15        The universe of individuals with this type of signal processing experience is
  16   limited. Plaintiffs’ expert Dr. McNames and Dr. Inan each have a Ph.D. in
  17   electrical engineering, which gives them unique insight into the principles of
  18   signal processing that are the basis of the alleged trade secrets that Plaintiffs are
  19   asserting in this case. To exclude Dr. Inan (or to effectively exclude him by
  20   requiring that he sign an additional agreement containing unnecessary and overly
  21   burdensome restrictions) would leave Defendants without his valuable expertise,
  22   which will be indispensable in Defendants’ efforts to defend against Plaintiffs’
  23   claims.
  24        If the Court adopts Plaintiffs’ view of what (a) the scope of the case and the
  25   confidential information at issue in this case and (b) the risk of disclosure that
  26   comes from a role as an academic researcher, it would disqualify not only Dr. Inan
  27   but also essentially any other expert qualified to opine on the technical issues
  28   related to Plaintiffs’ trade secrets. This would be prejudicial to Defendants,
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   1   especially because Plaintiffs’ own technical expert—who would likely be
   2   excluded under the same rationale that Plaintiffs’ advance here—has already been
   3   retained and has already gained access to Defendants’ confidential materials.
   4   Because Plaintiffs’ objection does not take into consideration the prejudice to
   5   Defendants that would result from sustaining their objection, the Court should
   6   overrule Plaintiffs’ objection.
   7   IV. PLAINTIFFS’ POSITION
   8             The parties agree that the Court must weigh the risk of disclosure of
   9   Plaintiffs’ confidential information against the potential harm to Defendants’
  10   ability to prosecute its case. Defendants argue that Dr. Inan presents no risk of
  11   disclosure because he works in a different field than pulse oximetry. But Dr. Inan
  12   researches and develops physiological monitoring technologies based on the
  13   photoplethysmogram (“PPG”) signal.
  14                                                                Plaintiffs’ patents and
  15

  16   Defendants cannot maintain that PPG processing and pulse oximetry are separate
  17   fields.
  18             Defendants ignored that the company Dr. Inan co-founded and advises is
  19   developing, for commercial sale, a wearable that processes a PPG to determine
  20   oxygen saturation. Dr. Inan admits that he is performing “cutting edge research”
  21   to develop signal processing of the PPG. Inan Decl., ¶ 6. Dr. Inan also filed for
  22   patents and published articles about that work. These activities present a very
  23   high risk of disclosure of Plaintiffs’ market-leading technology.
  24             Defendants cannot show any potential harm. Dr. Inan would be their fourth
  25   technical expert. Defendants therefore have no basis for arguing that the objection
  26   “would essentially preclude Defendants from retaining any qualified expert.”
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   1   A.    Background to Dispute
   2         1.     Defendants Omit Material Facts
   3         Defendants provide an incomplete factual background beginning in
   4   February 2021. The relevant facts start a year earlier. Defendants disclosed a first
   5   technical expert, Nikolaus Baer, on February 20, 2020. Claassen Decl. Ex. 13.
   6   Mr. Baer’s CV stated that he had been a testifying expert witness for intellectual
   7   property litigations including patent and trade secrets. Claassen Decl. Ex. 17. Mr.
   8   Baer also listed seven pages of expert engagements. Id. Plaintiffs did not object.
   9         On February 24, 2020, Defendants disclosed a second technical expert, Dr.
  10   Robert Stone. Claassen Decl. Ex. 14. Dr. Stone’s CV stated that he had been an
  11   expert in approximately one dozen intellectual property matters, including three
  12   previous engagements adverse to Masimo. Claassen Decl. Ex. 18.
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  22         On August 27, 2020, Defendants disclosed a third technical expert, Dr.
  23   Thomas Goldstein. Claassen Decl. Ex. 15. Dr. Goldstein’s CV spanned 19 pages
  24   and included numerous signal processing talks, patents, publication, and research.
  25   Claassen Decl. Ex. 19. Again, Plaintiffs did not object.
  26         2.     Plaintiffs’ Promptly Evaluated Defendants’ Disclosure of Dr.
  27                Inan
  28         On Friday, February 12, 2021, Defendants disclosed their fourth technical
                                              -23-
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   1   expert, Dr. Inan. Kachmer Decl. Ex. A at 25. Plaintiffs promptly evaluated
   2   Defendants’ disclosure of Dr. Inan.
   3         Dr. Inan’s CV listed hundreds of publications, patents and patent
   4   applications. Claassen Decl. Ex. 7. On February 17, Plaintiffs asked for more
   5   information because Dr. Inan’s CV listed only the titles of his patent applications.
   6   Kachmer Decl. Ex. A at 24-25. Also, his professional services merely listed the
   7   names of 14 different companies without indicating the services Dr. Inan provided
   8   to them. Id. The companies included multiple life science and medical device
   9   companies. Plaintiffs independently learned that Dr. Inan served as a spokesman
  10   for one company and currently serves a scientific advisor for another. See
  11   Kachmer Decl. Ex. A at 25; Claassen Decl. Ex. 10.
  12         Masimo and Cercacor were concerned about allowing Dr. Inan access
  13   without learning more about Dr. Inan.           Plaintiffs’ counsel obtained the
  14   publications and asked for more information about Dr. Inan’s professional
  15   services. Kachmer Decl. Ex. A. Plaintiffs reviewed that information and identified
  16   several examples of work that overlapped with the confidential information that
  17   Plaintiffs had produced over the course of discovery. Kachmer Decl. Ex. A at 3-4,
  18   5-6, 8-10, 16-17, 21-22.
  19                                                                             See, e.g.,
  20   Claassen Decl. Exs. 4-6; Diab Decl. ¶¶ 15, 18.          Plaintiffs identified those
  21   examples to Defendants, including signal processing of detected light signals for
  22   noninvasive monitoring.
  23         As part of a series of discussions between the parties, Defendants
  24   represented that Dr. Inan’s consulting work did not involve oxygen saturation
  25   estimation. Kachmer Decl. Ex. A at 13, 18. But Defendants said nothing about
  26   any other signal processing, physiological parameters, or noninvasive monitoring.
  27   Thus, Defendants’ representation about oxygen saturation estimation failed to
  28   respond to Plaintiffs concerns.
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   1         On February 25, 2021, Plaintiffs offered to further discuss the issue.
   2   Kachmer Decl. Ex. A at 23. Plaintiffs identified additional publications and
   3   pending patent applications related to Plaintiffs’ confidential information
   4   designated under the Protective Order. Id. at 16–17. Plaintiffs also offered to
   5   discuss possible restrictions that would reduce Plaintiffs’ concerns of an
   6   inadvertent disclosure. Id. Defendants responded that Dr. Inan’s work was not
   7   related to pulse oximetry, but did involve signal processing of light signals for
   8   noninvasive monitoring. Id. at 14–15.
   9         Despite continued discussions, the parties were unable to resolve Plaintiffs’
  10   objection to Dr. Inan.
  11   B.    Defendants Incorrectly Minimize the Risk of Inadvertent Disclosure
  12         Defendants raise three points to trivialize the risk that Dr. Inan would
  13   inadvertently disclose Plaintiffs’ confidential information. Defendants argue: (1)
  14   the scope of the technology in the case is limited to pulse oximetry, (2) Dr. Inan’s
  15   academic advising on research poses little risk, and (3) the Protective Order
  16   “eliminates” the risk of disclosure. All three arguments lack merit.
  17         1.     The Case Concerns Technology That Rests Upon Processing The
  18                PPG
  19         Defendants allege Dr. Inan’s PPG signal processing differs from the
  20   technology at issue in this case. Specifically, Defendants contend that Dr. Inan’s
  21   PPG signal processing does not result in the estimation of oxygen saturation. But
  22   Defendants concede “that pulse oximetry involves signal processing of light
  23   signals and involves processing a PPG signal.”            Supra, Section III.B.2.a
  24   (emphasis added). That processing is at issue in this case.
  25          The technology in the case is not limited to “estimation of oxygen
  26   saturation” as Defendants imply. “Pleth” is shorthand for photoplethysmogram
  27   and is recited in both Claim 1 of U.S. Patent No. 8,983,564 and Claim 1 of U.S.
  28   Patent No. 10,194,847. See Dkt. 42 (First Amended Complaint) at ¶¶ 122, 173
                                               -25-
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   1   (alleging Defendants use pleth data to determine perfusion index with respect to
   2   Claim 1 of ’564 Patent and Claim 1 of ’847 Patent). In its claim-construction
   3   briefing, Plaintiffs described the PPG or pleth as follows:
   4         A typical signal by the sensor for a given wavelength of light is
   5         illustrated below, and is known in the field as a plethysmograph
   6         or plethysmographic waveform:
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  12   Dkt. 51 at 3 (citing ’564 Patent at Fig. 1). Defendants identified “pleth” as a term
  13   requiring construction. Dkt. 50 at 7, 10. For example, Claim 1 of ’564 Patent and
  14   Claim 1 of ’847 Patent are not limited to merely estimating oxygen saturation or
  15   any other blood constituent. Instead, they concern calculating perfusion index
  16   from the PPG.
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  19                           Masimo SET stands for Signal Extraction Technology and
  20   refers to, among other things, the ability to extract a meaningful PPG signal during
  21   difficult measurement conditions. See Dkt. 42 (First Amended Complaint) at ¶ 11.
  22   Those difficult measurement conditions include patient movement and low signal
  23   strength. Masimo’s signal processing for those PPG signals is recognized as
  24   world-leading technology. Id. at ¶ 17.
  25

  26                                  Diab Decl. ¶¶ 15-18; Chen Decl. Ex. 1; Claassen
  27   Decl. Ex. 5.     Plaintiffs have also produced source code and Matlab files
  28   demonstrating how to implement that technology. See Diab Decl. ¶¶ 15-18; Chen
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   1   Decl. Ex. 1; Claassen Decl. Ex. 5. Plaintiffs’ interrogatory responses would also
   2   focus Dr. Inan on the significant information from the production discussing the
   3   PPG. The discovery produced shows this case concerns technology that rests
   4   upon processing the PPG.
   5         2.      Dr. Inan’s Academic Research Poses A Significant Risk of
   6                 Inadvertent Disclosure
   7         Defendants dismiss Dr. Inan’s research publications as irrelevant because
   8   they do not discuss pulse oximetry. But it is undisputed that Dr. Inan’s recent
   9   publications describe PPG signal processing. For example, in an April 1, 2020
  10   article, Dr. Inan explains that commercially available PPG sensors “do not yield
  11   high quality measurements.” Claassen Decl. Ex. 2 at 3851. Dr. Inan therefore
  12   designed his own PPG sensors and signal processing for “extracting clean PPG
  13   waveforms” as shown in various figures in the publication.            Id. at 3852
  14   (annotated). For example, Dr. Inan developed “a digital FIR bandpass filter” that
  15   “removes out-of-band noise.” Id. Dr. Inan describes techniques for selecting the
  16   “optimal PPG” in that publication. Id. at 3854.
  17         Other Dr. Inan publications similarly disclose PPG signal processing. For
  18   example, Dr. Inan discloses the use of linear filtering and wavelet processing to
  19   reduce noise and motion artifacts. See Diab Decl. at ¶ 10; Claassen Decl. Ex. 1.
  20   He also discloses obtaining ensemble-averaged PPGs. Id. at ¶ 12; Claassen Decl.
  21   Ex. 3.     Another Dr. Inan publication discloses processing PPG signals using
  22   “finite impulse response (FIR) band-pass filters.” See Claassen Ex. 20 at 3, 5.
  23         These details go beyond mere “high-level block diagrams” as Defendants
  24   argue. Supra, Section III.B.2.B. Dr. Inan is immersed in the details and his
  25   research focuses on specific processing techniques for extracting a clean PPG
  26   signal.    Dr. Inan continues to publish on how to address low quality signal
  27   conditions with PPG signal processing.
  28                                                         Because Dr. Inan frequently
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   1   publishes papers on PPG processing, Plaintiffs cannot bear the risk that he may
   2   inadvertently reveal aspects of their PPG processing algorithms. Whether Dr.
   3   Inan publishes for academic reasons or otherwise is irrelevant.
   4         3.      The Protective Order Does Not Address Plaintiffs’ Objections
   5         Defendants assert that the Protective Order is “more than sufficient” to
   6   protect Plaintiffs’ trade secrets. Supra, Section III.B.3. Defendants rely on Dr.
   7   Inan’s agreeing to not use or disclose the Plaintiffs’ confidential information for
   8   an improper purpose. But that agreement could not prevent any inadvertent
   9   disclosure.
  10         The Protective Order recognizes the possibility of inadvertent disclosures.
  11   It provides for parties to object when they suspect risks of an inadvertent
  12   disclosure. Dkt. 100, ¶ 6(c). The harm of an inadvertent disclosure is heightened
  13   when one discloses trade secrets. Any violation of the Protective Order would be
  14   unintentional and not prevented by it.
  15         Defendants also argue that Dr. Inan’s role as an academic researcher, as
  16   opposed to a commercial competitor, poses no risk of inadvertent disclosure.
  17   Supra, Section III.B.2.b. But courts draw no such distinction. Academic
  18   researchers pose a serious risk because they are much more likely to publish their
  19   findings and research for anyone to read, including competitors.             Whether
  20   academic or commercial, “the court must balance the risk of inadvertent disclosure
  21   of trade secrets to competitors against the risk to the other party that protection of
  22   these trade secrets will prejudice its ability to prosecute or defend the present
  23   action.” Layne Christensen Co. v. Purolite Co., 271 F.R.D. 240, 249 (D. Kan.
  24   2010) (preventing access to “Attorneys’ Eyes Only” documents by engineering
  25   professor and inventor who was not a competitor or competitive decision-maker).
  26         While Dr. Inan may not intentionally disclose Plaintiffs’ confidential
  27   information, he may do so inadvertently. Trustees of Bos. Univ. v. Everlight
  28   Elecs. Co., No. 12-CV-11935-PBS (D. Mass. July 8, 2014), Dkt. 636, at 7–8
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   1   (“Although the Court does not question Dr. Moustakas’ intentions, it ‘nonetheless
   2   question[s] his human ability during future years of research to separate the
   3   applications he has extrapolated from [Defendants’] documents from those he
   4   develops from his own ideas.’” (quoting Safe Flight Instrument Corp. v.
   5   Sundstrand Data Control Inc., 682 F. Supp. 20, 22 (D. Del. 1988))).
   6         Defendants cite two cases for the proposition that “an academic setting is
   7   not the type of role that creates a risk of inadvertent disclosure.” Supra, Section
   8   III.B.2.b (citing Labyrinth Optical Techs. LLC v. Ciena Communs., Inc., No.
   9   SACV12-02217-AG (DFMx), 2013 U.S. Dist. LEXIS 188655, at *30-31 (C.D.
  10   Cal. Dec. 18, 2013) and Apple Inc. v. Samsung Elecs. Co., Civil Action No. 11-
  11   CV-01846-LHK, 2012 U.S. Dist. LEXIS 49201, at *33-34 (N.D. Cal. Jan. 30,
  12   2012)). But in both cases, the parties agreed upon the protective orders entered
  13   and the court did not categorize the type of expert at issue.
  14         Accordingly, Dr. Inan presents a significant risk of inadvertent disclosure
  15   despite Defendants’ attempt to trivialize his work in PPG processing and its
  16   relation to Plaintiffs’ confidential information.
  17   C.    Dr. Inan Is A Co-founder And Scientific Advisor To Cardiosense
  18         Whose Sole Product Includes Pulse Oximetry
  19         Defendants argue that “Dr. Inan is primarily an academic.” Supra, Section
  20   III.2.b. Defendants contend that “He has engaged in minimal consulting work
  21   outside of academia, but this work has been limited both in terms of the time that
  22   he commits to it and the scope of his responsibilities.” Id. But Defendants fail to
  23   address Dr. Inan’s co-founding of Cardiosense and its oxygen saturation
  24   measurement. Kachmer Decl. Ex. A at 25; Claassen Decl. Ex. 10 at 3.
  25         Dr. Inan admits he “co-founded Cardiosense with Dr. Andrew Carek, who
  26   received his Ph.D. from Georgia Tech under his direction.” Inan Decl. at ¶ 11(a).
  27   Dr. Inan still serves as a Scientific Advisor to Cardiosense. Id.
  28         Cadiosense describes its wearable device on its website. Cardiosense touts
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   1   its wearable device as “the first non-invasive monitoring platform to give an early
   2   warning of declining heart function.” Claassen Decl. Ex. 10 at 1. Cardiosense’s
   3   wearable processes a PPG to determine oxygen saturation as shown in the
   4   screenshot below:
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  15   Id. at 3. That wearable device would compete with Masimo’s Radius PPG, a
  16   wearable pulse oximeter.
  17          Dr. Inan represents that he does not develop algorithms “to estimate blood
  18   oxygen saturation or any other blood constituent.” Inan Decl. at ¶ 13. However,
  19   Dr. Inan is a Scientific Advisor for Cardiosense (Inan Decl. at ¶ 11(a)) and his
  20   work contributed to a device that includes a pulse oximeter (Claassen Decl. Ex. 10
  21   at 3). Plaintiffs’ concern is justified under these circumstances. Dr. Inan’s work
  22   presents a high risk of both inadvertent disclosure and competitive harm to
  23   Plaintiffs.
  24   D.     That Defendants Already Have Three Other Technical Experts Refutes
  25          Any Claim Of Prejudice
  26          Defendants argue they “cannot proceed without a qualified technical
  27   expert.” See supra, Section III.B.4. But Defendants ignore that Dr. Inan would be
  28   their fourth retained technical expert. Defendants’ complaint that disqualifying
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   1   Dr. Inan would preclude them from retaining any qualified expert rings hollow.
   2         Defendants also argue that Dr. Inan has “a Ph.D. in electrical engineering,
   3   which gives [him] unique insight into the principles of signal processing that are
   4   the basis of the alleged trade secrets that Plaintiffs are asserting in this case.” Id.
   5   But there are thousands of Ph.D.s granted in electrical engineering in the United
   6   States each year. See Claassen Decl. Ex. 21. And one of Defendants’ other
   7   experts, Dr. Goldstein, was a “Postdoctoral Fellow in the Department of Electrical
   8   Engineering at Stanford University and then a Postdoctoral Fellow in the
   9   Department of Electrical and Computer Engineering at Rice University.” Dkt.
  10   171-1 at ¶ 8. Defendants never explain why they need a fourth technical expert.
  11   The chance of inadvertent disclosure increases with each additional expert.
  12   E.    Defendants Incorrectly Argue That Plaintiffs Contradicted Themselves
  13         When Discussing Dr. McNames
  14         Defendants argue that Plaintiffs’ objection to Dr. Inan somehow contradicts
  15   Plaintiffs’ argument that their expert, Dr. McNames, does not present a risk of
  16   inadvertent disclosure. This argument fails for several reasons.
  17         First, Defendants point to Plaintiffs’ representation that Dr. McNames’
  18   work is not related to pulse oximetry. Supra, Section III.B.1. Defendants rely on a
  19   cropped quote from the joint stipulation on Dr. McNames. Id. (citing Dkt. 69-1).
  20   But Defendants omit that Plaintiffs’ representations to the Court went further. Dr.
  21   McNames specifically represented that his research does not “use any optical
  22   sensors.” Dkt. 69-10 at ¶ 6. In stark contrast, Defendants have confirmed that Dr.
  23   Inan specifically works with light signals, and with processing the PPG, the core
  24   of Plaintiffs’ light-based technologies. Kachmer Decl. Ex. A at 14.
  25         Second, Defendants argue that Plaintiffs downplayed a McNames patent
  26   that mentioned pulse oximetry. But that patent issued in 2011 and there was no
  27   evidence that McNames was pursuing new patents related to pulse oximetry.
  28   Here, however, Dr. Inan is currently working on PPG signal processing. Dr. Inan
                                                -31-
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   1   published articles in the last year on PPG signal processing. See Diab Decl. ¶¶ 9,
   2   11; Claassen Decl. Ex. 2. He is also currently prosecuting a patent application
   3   concerning the PPG and its use for noninvasive monitoring. See Diab Decl. ¶ 10;
   4   Claassen Decl. Ex. 1.
   5              Defendants conclude by stating “Plaintiffs’ arguments apply with equal
   6   force to Dr. Inan.” Not so. Each of the parties produced different information.
   7   Plaintiffs produced extensive information regarding processing of PPGs and
   8   pointed out that Dr. Inan is working on processing PPGs. Defendants never
   9   identified any of their confidential information that Dr. McNames could use or
  10   disclose in the ordinary course of his work.
  11

  12                                      Respectfully submitted,
  13                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
  14   Dated: March 25, 2021              By: /s/ Brian C. Claassen
                                                 Brian C. Claassen
  15
                                                Attorneys for Plaintiffs, Masimo Corporation
  16                                            and Cercacor Laboratories, Inc.
  17

  18                                      MERCHANT & GOULD, P.C.

  19
       Dated: March 25, 2021              By: /s/ Paige S. Stradley
                                              Paige S. Stradley
  20
                                                Attorneys for Defendants.
  21                                            True Wearables, Inc. and Marcelo Lamego
  22
                                     FILER’S ATTESTATION
  23
                  Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
  24
       concurrence in the filing of this document has been obtained from all signatories
  25
       above.
  26
       Dated: March 25, 2021              By:      /s/ Paige S. Stradley
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